       Case 3:12-cr-01111-BTM                        Document 288                 Filed 02/27/14              PageID.803              Page 1 of 4

                                                                                                                                 FILED
     ~AO 245B (CASD) (Rev. SIll)    Judgment in a Criminal Case
                Sheet 1                                                                                                            FEB 27 2014
                                                                                                                        CLllAK, u.;:;, t-'i;; f!'!!c 'r COURT
                                                                                                                     ~Hi""1N DISTRICY OF CAUFOfUM
                                              UNITED STATES-DISTRICT COURc:J                                                 •                          DEPUtY

                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                       -
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                           DENNIS SITTMAN [5]                                      Case Number: 12CRIIII-BTM
                                                                                    MICHAEL BURKE
                                                                                   Defendant's Attorney
    REGISTRAnON NO. 83663022

    o
    THE DEFENDANT:
     181pleaded guilty to count(s} 1 AND 2 OF THE SUPERSEDING INFORMATION
     o     was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(I)                 CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                              1
18 USC 1956(a)(I)(A)(i),              CONSPIRACY TO LAUNDER MONEY                                                                           2
1956(a)(l)(B)(i)




        The defendant is sentenced as provided in pages 2 through _ _4,--_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(s) Underlying Indictments                                                 is   0   arel8J dismissed on the motion of the United States.
 181 Assessment: $200 to be paid within the first (1st) year of Supervised Release.

  181 Fine waived                                   o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ , incorporated herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               JANUARY 31,2014




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                12CRllll-BTM
    Case 3:12-cr-01111-BTM                       Document 288       Filed 02/27/14         PageID.804             Page 2 of 4


AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 2 - imprisonment

                                                                                           Judgment - Page    2     of       4
 DEFENDANT: DENNIS SITTMAN [5]
 CASE NUMBER: 12CRllll-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        FITY-ONE (51) MONTHS AS TO COUNTS 1-2 CONCURRENTLY.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    jgJ The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 RDAP program. The the defendant serve his sentence at FCI Sheridan.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Da.m.    Op·m.    on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ---------------------------------------------------------------------
       o notified by the United States Marshal.
               as
       o notified by the Probation or Pretrial Services Office.
               as


                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                               to

 at ________________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                   By _______~~~~~~~~~~---------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   12CRllll-BTM
       Case 3:12-cr-01111-BTM                    Document 288                Filed 02/27/14             PageID.805            Page 3 of 4


AO 24SB (CASD) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                            Judgment-Page    ..-l.-- of _ _4.:....._ _
DEFENDANT: DENNIS SITIMAN [5]                                                                       a
CASE NUMBER: 12CRlll1-BTM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
THREE (3) YEARS AS TO COUNTS 1-2 CONCURRENTLY.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offe"ses committed     on or after September J 3, J 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

\81 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
\81 The  defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000,-pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D The    defendant shall comply with tlie requirements ofthe Sex Offender R.egistration an(l Notification Act (42 U.S.C. § 16901, et seq.) as directed
    by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall Dot leave the judicial district without the pennissioD of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation offICer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflrnl the
        defendant's compliance with such notification requirement.

                                                                                                                                    12CRllll-BTM
          Case 3:12-cr-01111-BTM                         Document 288       Filed 02/27/14           PageID.806            Page 4 of 4


       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                        Judgment-Page ~ of _-,-4_ _
       DEFENDANT: DENNIS SITTMAN [5]                                                               II
       CASE NUMBER: 12CRllll-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
/81 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
/81 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under ~ederallaw.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or ~ngerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o Reside in a Sober Living Facility for One year after release from the RRC.
                                                   (1)

o Abstain from all use of Alcohol.
~ Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120 days upon release. This is a non
  punitive placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within days.
o Complete hours of community service in a program approved by the probation officer within
o
o IfStates
      deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
           illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                    12CRllll-BTM
